    Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 1 of 44



                                                    The Honorable Robert S. Lasnik




                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WASHINGTON
                               AT SEATTLE

 STATE OF WASHINGTON; STATE OF                   NO.: 2:18-cv-01115-RSL
 CONNECTICUT; STATE OF MARYLAND;
 STATE OF NEW JERSEY; STATE OF NEW
 YORK; STATE OF OREGON;
 COMMONWEALTH OF                                 ANSWER OF DEFENDANTS
 MASSACHUSETTS; COMMONWEALTH                     DEFENSE DISTRIBUTED,
 OF PENNSYLVANIA; DISTRICT OF                    SECOND AMENDMENT
 COLUMBIA; STATE OF CALIFORNIA;                  FOUNDATION, AND CONN
 STATE OF COLORADO; STATE OF                     WILLIAMSON TO FIRST
 DELAWARE; STATE OF HAWAII; STATE                AMENDED COMPLAINT FOR
 OF ILLINOIS; STATE OF IOWA; STATE               DECLARATORY RELIEF
 OF MINNESOTA; STATE OF NORTH
 CAROLINA; STATE OF RHODE ISLAND;
 STATE OF VERMONT, and
 COMMONWEALTH OF VIRGINIA,

                     Plaintiffs,

        v.

 UNITED STATES DEPARTMENT OF
 STATE; MICHAEL R. POMPEO, in his
 official capacity as Secretary of State;
 DIRECTORATE OF DEFENSE TRADE
 CONTROLS; MIKE MILLER, in his official
 capacity as Acting Deputy Assistant Secretary
 of Defense Trade Controls; SARAH
 HEIDEMA, in her official capacity as Director
 of Policy, Office of Defense Trade Controls
 Policy; DEFENSE DISTRIBUTED; SECOND
 AMENDMENT FOUNDATION, INC.; AND
 CONN WILLIAMSON,

                     Defendants.
ANSWER OF DEFENDANTS DEFENSE                                  FARHANG & MEDCOFF
DISTRIBUTED, SECOND AMENDMENT                              4801 E. Broadway Blvd., Suite 311
FOUNDATION, AND CONN WILLIAMSON                                    Tucson, AZ 85711
No. 2:18-cv-01115-RSL
          Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 2 of 44



 1          Defendants Defense Distributed, Second Amendment Foundation, and Conn

 2   Williamson (collectively “Defendants”) answer the allegations of Plaintiffs’ Amended

 3   Complaint, Dkt. 29, as follows, each paragraph hereof being responsive to the corresponding

 4   numbered paragraph of the Complaint.

 5          1.     Paragraph 1 of Plaintiffs’ Amended Complaint alleges legal conclusions that do

 6   not require a response. To the extent a response is required, Defendants respond that any

 7   person with Internet access already has access to 3-D CAD and other files at issue in this

 8   action. Defendants deny the remaining allegations of this paragraph of Plaintiffs’ Amended

 9   Complaint.

10          2.     In response to paragraph 2 of Plaintiffs’ Amended Complaint, Defendants admit

11   only that the United States Department of State, the Secretary of State, the Directorate of

12   Defense Trade Controls (“DDTC”), the Deputy Assistant Secretary, Defense Trade Controls,

13   and the Director, Office of Defense Trade Controls Policy agreed to the terms of the Settlement

14   Agreement entered into between the parties in Defense Distributed v. U.S. Dept. of State, 1:15-

15   CV-372 RP (W.D. Texas) (the “Prior Action”). Defendants deny the remaining allegations of

16   this paragraph of Plaintiffs’ Amended Complaint.

17          3.     In response to paragraph 3 of Plaintiffs’ Amended Complaint, Defendants admit

18   only that, on July 27, 2018, a notice was published at www.pmddtc.state.gov. Defendants

19   deny that the Ghost Gunner machine is subject to the ITAR. Defendants deny the remaining

20   allegations of this paragraph of Plaintiffs’ Amended Complaint.

21        4.       Paragraph 4 of Plaintiffs’ Amended Complaint alleges legal conclusions that do

22   not require a response. To the extent a response is required, Defendants admit only that

     ANSWER OF DEFENDANTS DEFENSE                                       FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                   4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                2                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
          Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 3 of 44



 1   consistent with the Settlement Agreement in the Prior Action and its rights under the First and

 2   Second Amendments, Defense Distributed announced a plan to publish certain files relating

 3   to 3-D printing of firearms on August 1, 2018. Defendants deny the remaining allegations of

 4   this paragraph of Plaintiffs’ Amended Complaint.

 5        5.       In response to paragraph 5 of Plaintiffs’ Amended Complaint, Defendants admit

 6   only that, consistent with the Settlement in the Prior Action and its rights under the First and

 7   Second Amendments, Defense Distributed planned to publish certain files relating to 3-D

 8   printing of firearms. Defendants deny the remaining allegations of this paragraph of Plaintiffs’

 9   Amended Complaint.

10        6.       In response to paragraph 6 of Plaintiffs’ Amended Complaint, Defendants

11   respond that they lack information or knowledge sufficient to form a belief as to the content

12   of news reports. Defendants therefore deny the allegations of this paragraph of Plaintiffs’

13   Amended Complaint.

14        7.       Defendants deny the allegations of paragraph 7 of Plaintiffs’ Amended

15   Complaint.

16        8.       Defendants deny the allegations of paragraph 8 of Plaintiffs’ Amended

17   Complaint.

18        9.       Defendants deny the allegations of paragraph 9 of Plaintiffs’ Amended

19   Complaint.

20        10.      In response to paragraph 10 of Plaintiffs’ Amended Complaint, Defendants

21   admit only that the Government published certain notices of proposed rulemaking. Defendants

22   deny the remaining allegations of this paragraph of Plaintiffs’ Amended Complaint.

     ANSWER OF DEFENDANTS DEFENSE                                        FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                    4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                 3                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
          Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 4 of 44



 1        11.      Defendants deny the allegations of paragraph 11 of Plaintiffs’ Amended

 2   Complaint.

 3        12.      Defendants deny the allegations of paragraph 12 of Plaintiffs’ Amended

 4   Complaint.

 5        13.      Defendants deny the allegations of paragraph 13 of Plaintiffs’ Amended

 6   Complaint.

 7        14.      In response to paragraph 14 of Plaintiffs’ Amended Complaint, Defendants

 8   admit only that Defendant Second Amendment Foundation, Inc., is located in Bellevue,

 9   Washington. Defendants deny the remaining allegations of this paragraph of Plaintiffs’

10   Amended Complaint.

11        15.      In response to paragraph 15 of Plaintiffs’ Amended Complaint, Defendants

12   admit only that the States of Washington, Connecticut, Maryland, New Jersey, New York,

13   Oregon, California, Colorado, Delaware, Hawaii, Illinois, Iowa, Minnesota, North Carolina,

14   Rhode Island, Vermont and Virginia, the Commonwealths of Massachusetts and

15   Pennsylvania, represented by and through their respective Attorneys General, are sovereign

16   states of the United States of America. Defendants deny the remaining allegations of this

17   paragraph of Plaintiffs’ Amended Complaint.

18        16.      Paragraph 16 of Plaintiffs’ Amended Complaint alleges legal conclusions that

19   do not require a response. To the extent a response is required, Defendants deny the allegations

20   of this paragraph of Plaintiffs’ Amended Complaint.

21        17.      Defendants deny the allegations of paragraph 17 of Plaintiffs’ Amended

22   Complaint.

     ANSWER OF DEFENDANTS DEFENSE                                        FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                    4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                 4                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 5 of 44



 1        18.     Defendants deny the allegations of paragraph 18 of Plaintiffs’ Amended

 2   Complaint.

 3        19.     Defendants admit the allegations of paragraph 19 of Plaintiffs’ Amended

 4   Complaint.

 5        20.     Defendants admit the allegations of paragraph 20 of Plaintiffs’ Amended

 6   Complaint.

 7        21.     In response to paragraph 21 of Plaintiffs’ Amended Complaint, Defendants deny

 8   that DDTC “enacted” a temporary modification. Defendants admit only that DDTC is a

 9   subordinate unit within the Department of State responsible for administering and enforcing

10   the ITAR, that DDTC issued a temporary authorization under ITAR Section 126.2, and that

11   DDTC is a party to the Settlement Agreement. Defendants deny any remaining allegations of

12   this paragraph of Plaintiffs’ Amended Complaint.

13        22.     Defendants admit the allegations of paragraph 22 of Plaintiffs’ Amended

14   Complaint.

15        23.     Defendants admit the allegations of paragraph 23 of Plaintiffs’ Amended

16   Complaint.

17        24.     In response to paragraph 24 of Plaintiffs’ Amended Complaint, Defendants

18   admit only that Defense Distributed is a Texas corporation with its headquarters and principal

19   place of business in Austin, Texas; that Defense Distributed advertises and sells products on

20   its website; and that, consistent with the Settlement Agreement in the Prior Action and its

21   rights under the First and Second Amendments, Defense Distributed planned to publish to the

22   Internet certain files relating to 3-D printing of firearms on August 1, 2018. The remaining

     ANSWER OF DEFENDANTS DEFENSE                                      FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                  4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                5                       Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
          Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 6 of 44



 1   allegations of this paragraph of Plaintiffs’ Amended Complaint include legal conclusions that

 2   do not require a response. To the extent a response to these remaining allegations is required,

 3   Defendants deny these remaining allegations of this paragraph of Plaintiffs’ Amended

 4   Complaint.

 5        25.      In response to paragraph 25 of Plaintiffs’ Amended Complaint, Defendants

 6   admit only that Defendant Second Amendment Foundation, is a non-profit organization

 7   incorporated under the laws of Washington with its principal place of business in Bellevue,

 8   Washington. The remaining allegations of this paragraph of Plaintiffs’ Amended Complaint

 9   constitute legal conclusions that do not require a response. To the extent a response to these

10   remaining allegations is required, Defendants deny these remaining allegations of this

11   paragraph of Plaintiffs’ Amended Complaint.

12        26.      In response to paragraph 26 of Plaintiffs’ Amended Complaint, Defendants

13   admit only that Conn Williamson is a citizen of the State of Washington. The remaining

14   allegations of this paragraph of Plaintiffs’ Amended Complaint constitute statements legal

15   conclusions that do not require a response. To the extent a response to these remaining

16   allegations is required, Defendants deny these remaining allegations of this paragraph of

17   Plaintiffs’ Amended Complaint.

18        27.      Paragraph 27 of Plaintiffs’ Amended Complaint cites a law and alleges legal

19   conclusions that do not require a response. To the extent a response is required, Defendants

20   deny these allegations of this paragraph of Plaintiffs’ Amended Complaint.

21        28.      Paragraph 28 of Plaintiffs’ Amended Complaint cites a law and alleges legal

22   conclusions that do not require a response. To the extent a response is required, Defendants

     ANSWER OF DEFENDANTS DEFENSE                                       FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                   4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                6                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
          Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 7 of 44



 1   deny these allegations of this paragraph of Plaintiffs’ Amended Complaint.

 2        29.      Paragraph 29 of Plaintiffs’ Amended Complaint cites a law and alleges legal

 3   conclusions that do not require a response. To the extent a response is required, Defendants

 4   deny these allegations of this paragraph of Plaintiffs’ Amended Complaint.

 5        30.      In response to paragraph 30 of Plaintiffs’ Amended Complaint, Defendants

 6   admit only that Lisa Aguirre submitted a declaration in the Prior Action. Defendants deny the

 7   factual accuracy of the contents of the document and deny any other remaining allegations of

 8   this paragraph of Plaintiffs’ Amended Complaint.

 9        31.      Paragraph 31 of Plaintiffs’ Amended Complaint cites an Executive Order and

10   alleges legal conclusions that do not require a response. To the extent a response is required,

11   Defendants deny these allegations of this paragraph of Plaintiffs’ Amended Complaint.

12        32.      Paragraph 32 of Plaintiffs’ Amended Complaint cites and Executive order and

13   alleges legal conclusions that do not require a response. To the extent a response is required,

14   Defendants deny these allegations of this paragraph of Plaintiffs’ Amended Complaint.

15        33.      Paragraph 33 of Plaintiffs’ Amended Complaint cites laws and alleges legal

16   conclusions that do not require a response. To the extent a response is required, Defendants

17   deny these allegations of this paragraph of Plaintiffs’ Amended Complaint.

18        34.      Paragraph 34 of Plaintiffs’ Amended Complaint cites a law and alleges legal

19   conclusions that do not require a response. To the extent a response is required, Defendants

20   deny these allegations of this paragraph of Plaintiffs’ Amended Complaint.

21        35.      Paragraph 35 of Plaintiffs’ Amended Complaint cites a law and alleges legal

22   conclusions that do not require a response. To the extent a response is required, Defendants

     ANSWER OF DEFENDANTS DEFENSE                                       FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                   4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                7                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
          Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 8 of 44



 1   deny these allegations of this paragraph of Plaintiffs’ Amended Complaint.

 2        36.      In response to paragraph 36 of Plaintiffs’ Amended Complaint, Defendants

 3   admit only that Lisa Aguirre submitted a declaration in the Prior Action. Defendants deny the

 4   factual accuracy of the contents of the document and deny any other remaining allegations of

 5   this paragraph of Plaintiffs’ Amended Complaint.

 6        37.      Paragraph 37 of Plaintiffs’ Amended Complaint cites a law and alleges legal

 7   conclusions that do not require a response. To the extent a response is required, Defendants

 8   deny these allegations of this paragraph of Plaintiffs’ Amended Complaint.

 9        38.      In response to Paragraph 38 of Plaintiffs’ Amended Complaint, Defendants

10   admit only that Defense Distributed is a Texas corporation founded by Cody Wilson.

11   Defendants deny the remaining allegations of this paragraph of Plaintiffs’ Amended

12   Complaint.

13        39.      In response to paragraph 39 of Plaintiffs’ Amended Complaint, Defendants

14   admit only that Defense Distributed began posting technical information regarding a number

15   of gun-related items, including a trigger guard, grips, two receivers, a magazine for AR-15

16   rifles, and a handgun on the Internet prior to or around May 2013. Defendants deny the

17   remaining allegations of this paragraph of Plaintiffs’ Amended Complaint.

18        40.      In response to paragraph 40 of Plaintiffs’ Amended Complaint, Defendants

19   admit only that Defense Distributed described certain data files as “essentially blueprints that

20   can be read by CAD software” in document located at Docket No. 8-4 at App. 208 of the Prior

21   Action. Defendants deny Plaintiffs’ description of weapons manufacturing and deny the

22   remaining allegations of this paragraph of Plaintiffs’ Amended Complaint.

     ANSWER OF DEFENDANTS DEFENSE                                        FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                    4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                 8                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
          Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 9 of 44



 1         41.     In response to paragraph 41 of Plaintiffs’ Amended Complaint, Defendants

 2   admit only that the Office of Defense Trade Controls Compliance is responsible for civil

 3   enforcement of AECA and ITAR.           Defendants deny the remaining allegations of this

 4   paragraph of Plaintiffs’ Amended Complaint.

 5         42.     In response to paragraph 42 of Plaintiffs’ Amended Complaint, Defendants

 6   admit only that the State Department issued a final determination responding to Defense

 7   Distributed’s commodity jurisdiction request; and that, in the final determination, the State

 8   Department advised that the Ghost Gunner machine was not subject to the export jurisdiction

 9   of the State Department under the ITAR; and that the State Department advised that certain

10   files were subject to the export jurisdiction of the State Department under the ITAR, and that

11   certain files were not subject to the export jurisdiction of the State Department under the ITAR.

12         43.     In response to paragraph 43 of Plaintiffs’ Amended Complaint, Defendants

13   admit only that the State Department issued a final determination responding to Defense

14   Distributed’s commodity jurisdiction request; and that, in the final determination, the State

15   Department advised that certain files were subject to the export jurisdiction of the State

16   Department under the ITAR, and that certain files were not subject to the export jurisdiction

17   of the State Department under the ITAR.

18         44.     In response to paragraph 44 of Plaintiffs’ Amended Complaint, Defendants

19   admit only that the State Department issued a final determination responding to Defense

20   Distributed’s commodity jurisdiction request. Defendants deny the remaining allegations of

21   this paragraph of Plaintiffs’ Amended Complaint.

22         45.     Defendants admit the allegations of paragraph 45 of Plaintiffs’ Amended

     ANSWER OF DEFENDANTS DEFENSE                                        FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                    4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                 9                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 10 of 44



 1   Complaint.

 2        46.      In response to paragraph 46 of Plaintiffs’ Amended Complaint, Defendants

 3   admit only that, in defending against the Prior Action, the Government filed certain documents

 4   with the district court. Defendants deny the remaining allegations of this paragraph of

 5   Plaintiffs’ Amended Complaint.

 6        47.      In response to paragraph 47 of Plaintiffs’ Amended Complaint, Defendants

 7   admit only that Lisa Aguirre submitted a declaration in the Prior Action. Defendants deny the

 8   factual accuracy of the contents of the document and deny any other remaining allegations of

 9   this paragraph of Plaintiffs’ Amended Complaint.

10        48.      In response to paragraph 48 of Plaintiffs’ Amended Complaint, Defendants

11   admit only that the court did not issue a preliminary injunction. Defendants deny the

12   remaining allegations of this paragraph of Plaintiffs’ Amended Complaint.

13        49.      In response to paragraph 49 of Plaintiffs’ Amended Complaint, Defendants

14   admit only that the Fifth Circuit affirmed the District Court’s decision without reaching the

15   merits in the Prior Action. Defendants deny the other allegations of this paragraph of

16   Plaintiffs’ Amended Complaint.

17        50.      Defendants admit the allegation of paragraph 50 of Plaintiffs’ Amended

18   Complaint.

19        51.      In response to paragraph 51 of Plaintiffs’ Amended Complaint, Defendants

20   admit only that the Government filed a motion to dismiss in the Prior Action after the district

21   court lifted the stay of proceedings. Defendants deny the remaining allegations of this

22   paragraph of Plaintiffs’ Amended Complaint.

     ANSWER OF DEFENDANTS DEFENSE                                       FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                   4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                10                       Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 11 of 44



 1        52.      In response to paragraph 52 of Plaintiffs’ Amended Complaint, Defendants

 2   admit only that Defense Distributed announced the settlement of the Prior Action in July 2018,

 3   and that the parties in the Prior Action filed a stipulation of dismissal with prejudice on July

 4   27, 2018. To the extent this paragraph cites news reports, Defendants lack information or

 5   knowledge sufficient to form a belief as to the truth of these allegations, and therefore deny

 6   these allegations. Defendants deny the remaining allegations of this paragraph of Plaintiffs’

 7   Amended Complaint.

 8        53.      In response to paragraph 53 of Plaintiffs’ Amended Complaint, Defendants

 9   admit that the Settlement Agreement was executed on June 29, 2018, and made public in July

10   2018. Defendants deny the remaining allegations of this paragraph of Plaintiffs’ Amended

11   Complaint.

12        54.      In response to paragraph 54 of Plaintiffs’ Amended Complaint, Defendants

13   admit only that the Settlement Agreement contains various paragraphs, to include paragraph

14   1, which sets forth certain Government obligations.          Defendants deny the remaining

15   allegations of this paragraph of Plaintiffs’ Amended Complaint.

16        55.      In response to paragraph 55 of Plaintiffs’ Amended Complaint, Defendants

17   admit only that the Settlement Agreement applies to technical data that is the subject of the

18   Prior Action. Defendants deny the allegations of this paragraph of Plaintiffs’ Amended

19   Complaint.

20        56.      Defendants deny the allegations of paragraph 56 of Plaintiffs’ Amended

21   Complaint,.

22          57.    In response to paragraph 57 of Plaintiffs’ Amended Complaint, Defendants deny

     ANSWER OF DEFENDANTS DEFENSE                                        FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                    4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                11                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 12 of 44



 1   that any Congressional notification was required and therefore deny the allegations of this

 2   paragraph of Plaintiffs’ Amended Complaint.

 3        58.     In response to paragraph 58 of Plaintiffs’ Amended Complaint, Defendants deny

 4   that any Secretary of Defense concurrence or any commodity jurisdiction request was required

 5   and therefore deny the allegations of this paragraph of Plaintiffs’ Amended Complaint.

 6        59.     In response to paragraph 59 of Plaintiffs’ Amended Complaint, Defendants

 7   admit only that Cody Wilson and Defense Distributed have made public statements about the

 8   Settlement Agreement. Defendants deny the remaining allegations of this paragraph of

 9   Plaintiffs’ Amended Complaint.

10        60.     In response to paragraph 60 of Plaintiffs’ Amended Complaint, Defendants

11   admit only that the Government published certain notices of proposed rulemaking. Defendants

12   deny the remaining allegations of this paragraph of Plaintiffs’ Amended Complaint.

13        61.     In response to paragraph 61 of Plaintiffs’ Amended Complaint, Defendants

14   admit only that the Government published certain notices of proposed rulemaking. Defendants

15   deny the remaining allegations of this paragraph of Plaintiffs’ Amended Complaint.

16        62.     In response to paragraph 62 of Plaintiffs’ Amended Complaint, Defendants

17   admit only that the Government published certain notices of proposed rulemaking. Defendants

18   deny the remaining allegations of this paragraph of Plaintiffs’ Amended Complaint.

19        63.     In response to paragraph 63 of Plaintiffs’ Amended Complaint, and upon

20   information and belief, Defendants admit only that the public comment period for the proposed

21   rule concluded on July 9, 2018. Defendants deny the remaining allegations of this paragraph

22   of Plaintiffs’ Amended Complaint.

     ANSWER OF DEFENDANTS DEFENSE                                      FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                  4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON               12                       Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 13 of 44



 1         64.     In response to paragraph 64 of Plaintiffs’ Amended Complaint, Defendants

 2   admit only that, on July 27, 2018, a notice was published at www.pmddtc.state.gov titled,

 3   “Temporary Modification of Category I of the United States Munitions List.” Defendants

 4   deny the remaining allegations of this paragraph of Plaintiffs’ Amended Complaint.

 5          65.    Defendants deny the allegations contained in paragraph 65 of Plaintiffs’

 6   Amended Complaint.

 7         66.     Defendants deny the allegations contained in paragraph 66 of Plaintiffs’

 8   Amended Complaint.

 9         67.     Paragraph 67 of Plaintiffs’ Amended Complaint discusses laws and alleges legal

10   conclusions that do not require a response. Defendants lack information or knowledge

11   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

12   of this paragraph of Plaintiffs’ Amended Complaint.

13         68.     Paragraph 68 of Plaintiffs’ Amended Complaint discusses laws and alleges a

14   legal conclusion that does not require a response. Defendants lack information or knowledge

15   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

16   of this paragraph of Plaintiffs’ Amended Complaint.

17         69.     Paragraph 69 of Plaintiffs’ Amended Complaint discusses laws and alleges legal

18   conclusions that do not require a response. Defendants lack information or knowledge

19   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

20   of this paragraph of Plaintiffs’ Amended Complaint.

21         70.     Defendants deny the allegations of paragraph 70 of Plaintiffs’ Amended

22   Complaint.

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  13                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 14 of 44



 1         71.     Defendants deny the allegations of paragraph 71 of Plaintiffs’ Amended

 2   Complaint.

 3         72.     Paragraph 72 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 4   conclusions that do not require a response. Defendants lack information or knowledge

 5   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 6   of this paragraph of Plaintiffs’ Amended Complaint.

 7         73.     Paragraph 73 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 8   conclusions that do not require a response. Defendants lack information or knowledge

 9   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

10   of this paragraph of Plaintiffs’ Amended Complaint.

11         74.     Paragraph 74 of Plaintiffs’ Amended Complaint cites laws and alleges legal

12   conclusions that do not require a response. Defendants lack information or knowledge

13   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

14   of this paragraph of Plaintiffs’ Amended Complaint.

15         75.     Defendants deny the allegations of paragraph 75 of Plaintiffs’ Amended

16   Complaint.

17         76.     Defendants deny the allegations of paragraph 76 of Plaintiffs’ Amended

18   Complaint.

19         77.     In response to paragraph 77 of Plaintiffs’ Amended Complaint, Defendants

20   admit only that, upon information and belief, Amazon sells 3-D printers on its website.

21   Defendants lack information or knowledge sufficient to form a belief as to the truth of the

22   remaining allegations of this paragraph and therefore deny the allegations of this paragraph of

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  14                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 15 of 44



 1   Plaintiffs’ Amended Complaint.

 2         78.     Defendants deny the allegations of paragraph 78 of Plaintiffs’ Amended

 3   Complaint.

 4         79.     Defendants deny the allegations of paragraph 79 of Plaintiffs’ Amended

 5   Complaint.

 6         80.     Paragraph 80 of Plaintiffs’ Amended Complaint discusses laws and alleges legal

 7   conclusions that do not require a response. Defendants lack information or knowledge

 8   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 9   of this paragraph of Plaintiffs’ Amended Complaint.

10         81.     Paragraph 81 of Plaintiffs’ Amended Complaint cites laws and alleges legal

11   conclusions that do not require a response. Defendants lack information or knowledge

12   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

13   of this paragraph of Plaintiffs’ Amended Complaint.

14         82.     Paragraph 82 of Plaintiffs’ Amended Complaint cites laws and alleges legal

15   conclusions that do not require a response. Defendants lack information or knowledge

16   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

17   of this paragraph of Plaintiffs’ Amended Complaint.

18         83.     Paragraph 83 of Plaintiffs’ Amended Complaint cites a law and alleges legal

19   conclusions that do not require a response. Defendants lack information or knowledge

20   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

21   of this paragraph of Plaintiffs’ Amended Complaint.

22         84.     Paragraph 84 of Plaintiffs’ Amended Complaint cites a law and alleges legal

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  15                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 16 of 44



 1   conclusions that do not require a response. Defendants lack information or knowledge

 2   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 3   of this paragraph of Plaintiffs’ Amended Complaint.

 4         85.     Paragraph 85 of Plaintiffs’ Amended Complaint cites a law and alleges legal

 5   conclusions that do not require a response. Defendants lack information or knowledge

 6   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 7   of this paragraph of Plaintiffs’ Amended Complaint.

 8         86.     Paragraph 86 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 9   conclusions that do not require a response. Defendants lack information or knowledge

10   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

11   of this paragraph of Plaintiffs’ Amended Complaint.

12         87.     Paragraph 87 of Plaintiffs’ Amended Complaint cites laws and alleges legal

13   conclusions that do not require a response. Defendants lack information or knowledge

14   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

15   of this paragraph of Plaintiffs’ Amended Complaint.

16         88.     Paragraph 88 of Plaintiffs’ Amended Complaint cites a law and alleges legal

17   conclusions that do not require a response. Defendants lack information or knowledge

18   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

19   of this paragraph of Plaintiffs’ Amended Complaint.

20         89.     Paragraph 89 of Plaintiffs’ Amended Complaint cites laws and alleges legal

21   conclusions that do not require a response. Defendants lack information or knowledge

22   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  16                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 17 of 44



 1   of this paragraph of Plaintiffs’ Amended Complaint.

 2         90.     Paragraph 90 of Plaintiffs’ Amended Complaint cites a law and alleges legal

 3   conclusions that do not require a response. Defendants lack information or knowledge

 4   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 5   of this paragraph of Plaintiffs’ Amended Complaint.

 6         91.     Defendants deny the allegations of paragraph 91 of Plaintiffs’ Amended

 7   Complaint.

 8         92.     Defendants deny the allegations of paragraph 92 of Plaintiffs’ Amended

 9   Complaint.

10         93.     Defendants deny the allegations of paragraph 93 of Plaintiffs’ Amended

11   Complaint.

12         94.     Paragraph 94 of Plaintiffs’ Amended Complaint cites laws and alleges legal

13   conclusions that do not require a response. Defendants lack information or knowledge

14   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

15   of this paragraph of Plaintiffs’ Amended Complaint.

16         95.     Paragraph 95 of Plaintiffs’ Amended Complaint cites laws and alleges legal

17   conclusions that do not require a response. Defendants lack information or knowledge

18   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

19   of this paragraph of Plaintiffs’ Amended Complaint.

20         96.     Paragraph 96 of Plaintiffs’ Amended Complaint cites laws and alleges legal

21   conclusions that do not require a response. Defendants lack information or knowledge

22   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  17                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 18 of 44



 1   of this paragraph of Plaintiffs’ Amended Complaint.

 2         97.     Defendants deny the allegations of paragraph 97 of Plaintiffs’ Amended

 3   Complaint.

 4         98.     Paragraph 98 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 5   conclusions that do not require a response. Defendants lack information or knowledge

 6   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 7   of this paragraph of Plaintiffs’ Amended Complaint.

 8         99.     Paragraph 99 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 9   conclusions that do not require a response. Defendants lack information or knowledge

10   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

11   of this paragraph of Plaintiffs’ Amended Complaint.

12         100.    Paragraph 100 of Plaintiffs’ Amended Complaint cites a law and alleges legal

13   conclusions that do not require a response. Defendants lack information or knowledge

14   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

15   of this paragraph of Plaintiffs’ Amended Complaint.

16         101.    Paragraph 101 of Plaintiffs’ Amended Complaint cites laws and alleges legal

17   conclusions that do not require a response. Defendants lack information or knowledge

18   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

19   of this paragraph of Plaintiffs’ Amended Complaint.

20         102.    Paragraph 102 of Plaintiffs’ Amended Complaint cites laws and alleges legal

21   conclusions that do not require a response. Defendants lack information or knowledge

22   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  18                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 19 of 44



 1   of this paragraph of Plaintiffs’ Amended Complaint.

 2         103.    Paragraph 103 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 3   conclusions that do not require a response. Defendants lack information or knowledge

 4   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 5   of this paragraph of Plaintiffs’ Amended Complaint.

 6         104.    Paragraph 104 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 7   conclusions that do not require a response. Defendants lack information or knowledge

 8   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 9   of this paragraph of Plaintiffs’ Amended Complaint.

10         105.    Paragraph 105 of Plaintiffs’ Amended Complaint cites laws and alleges legal

11   conclusions that do not require a response. Defendants lack information or knowledge

12   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

13   of this paragraph of Plaintiffs’ Amended Complaint.

14         106.    Defendants deny the allegations of paragraph 106 of Plaintiffs’ Amended

15   Complaint.

16         107.    Paragraph 107 of Plaintiffs’ Amended Complaint cites laws and alleges legal

17   conclusions that do not require a response. Defendants lack information or knowledge

18   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

19   of this paragraph of Plaintiffs’ Amended Complaint.

20         108.    Paragraph 108 of Plaintiffs’ Amended Complaint cites laws and alleges legal

21   conclusions that do not require a response. Defendants lack information or knowledge

22   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  19                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 20 of 44



 1   of this paragraph of Plaintiffs’ Amended Complaint.

 2         109.    Paragraph 109 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 3   conclusions that do not require a response. Defendants lack information or knowledge

 4   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 5   of this paragraph of Plaintiffs’ Amended Complaint.

 6         110.    Paragraph 110 of Plaintiffs’ Amended Complaint cites a law and alleges legal

 7   conclusions that do not require a response. Defendants lack information or knowledge

 8   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 9   of this paragraph of Plaintiffs’ Amended Complaint.

10         111.    Paragraph 111 of Plaintiffs’ Amended Complaint discusses laws and alleges

11   legal conclusions that do not require a response. Defendants lack information or knowledge

12   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

13   of this paragraph of Plaintiffs’ Amended Complaint.

14         112.    Paragraph 112 of Plaintiffs’ Amended Complaint cites a law and alleges legal

15   conclusions that do not require a response. Defendants lack information or knowledge

16   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

17   of this paragraph of Plaintiffs’ Amended Complaint.

18         113.    Paragraph 113 of Plaintiffs’ Amended Complaint cites a law and alleges legal

19   conclusions that do not require a response. Defendants lack information or knowledge

20   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

21   of this paragraph of Plaintiffs’ Amended Complaint.

22         114.    Paragraph 114 of Plaintiffs’ Amended Complaint cites laws and alleges legal

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  20                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 21 of 44



 1   conclusions that do not require a response. Defendants lack information or knowledge

 2   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 3   of this paragraph of Plaintiffs’ Amended Complaint.

 4         115.    Paragraph 115 of Plaintiffs’ Amended Complaint cites a law and alleges legal

 5   conclusions that do not require a response. Defendants lack information or knowledge

 6   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 7   of this paragraph of Plaintiffs’ Amended Complaint.

 8         116.    Paragraph 116 of Plaintiffs’ Amended Complaint cites a law and alleges legal

 9   conclusions that do not require a response. Defendants lack information or knowledge

10   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

11   of this paragraph of Plaintiffs’ Amended Complaint.

12         117.    Paragraph 117 of Plaintiffs’ Amended Complaint cites laws and alleges legal

13   conclusions that do not require a response. Defendants lack information or knowledge

14   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

15   of this paragraph of Plaintiffs’ Amended Complaint.

16         118.    Paragraph 118 of Plaintiffs’ Amended Complaint cites a law and alleges legal

17   conclusions that do not require a response. Defendants lack information or knowledge

18   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

19   of this paragraph of Plaintiffs’ Amended Complaint.

20         119.    Paragraph 119 of Plaintiffs’ Amended Complaint cites a law and alleges legal

21   conclusions that do not require a response. Defendants lack information or knowledge

22   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  21                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 22 of 44



 1   of this paragraph of Plaintiffs’ Amended Complaint.

 2         120.    Paragraph 120 of Plaintiffs’ Amended Complaint cites a law and alleges legal

 3   conclusions that do not require a response. Defendants lack information or knowledge

 4   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 5   of this paragraph of Plaintiffs’ Amended Complaint.

 6         121.    Paragraph 121 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 7   conclusions that do not require a response. Defendants lack information or knowledge

 8   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 9   of this paragraph of Plaintiffs’ Amended Complaint.

10         122.    Paragraph 122 of Plaintiffs’ Amended Complaint cites laws and alleges legal

11   conclusions that do not require a response. Defendants lack information or knowledge

12   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

13   of this paragraph of Plaintiffs’ Amended Complaint.

14         123.    Paragraph 123 of Plaintiffs’ Amended Complaint cites a law and alleges legal

15   conclusions that do not require a response. Defendants lack information or knowledge

16   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

17   of this paragraph of Plaintiffs’ Amended Complaint.

18         124.    Paragraph 124 of Plaintiffs’ Amended Complaint cites laws and alleges legal

19   conclusions that do not require a response. Defendants lack information or knowledge

20   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

21   of this paragraph of Plaintiffs’ Amended Complaint.

22         125.    Paragraph 125 of Plaintiffs’ Amended Complaint cites a law and alleges legal

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  22                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 23 of 44



 1   conclusions that do not require a response. Defendants lack information or knowledge

 2   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 3   of this paragraph of Plaintiffs’ Amended Complaint.

 4         126.    Paragraph 126 of Plaintiffs’ Amended Complaint cites a law and alleges legal

 5   conclusions that do not require a response. Defendants lack information or knowledge

 6   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 7   of this paragraph of Plaintiffs’ Amended Complaint.

 8         127.    Defendants deny the allegations of paragraph 127 of Plaintiffs’ Amended

 9   Complaint.

10         128.    Paragraph 128 of Plaintiffs’ Amended Complaint discusses laws and alleges

11   legal conclusions that do not require a response. Defendants lack information or knowledge

12   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

13   of this paragraph of Plaintiffs’ Amended Complaint.

14         129.    Paragraph 129 of Plaintiffs’ Amended Complaint cites laws and alleges legal

15   conclusions that do not require a response. Defendants lack information or knowledge

16   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

17   of this paragraph of Plaintiffs’ Amended Complaint.

18         130.    Paragraph 130 of Plaintiffs’ Amended Complaint cites laws and alleges legal

19   conclusions that do not require a response. Defendants lack information or knowledge

20   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

21   of this paragraph of Plaintiffs’ Amended Complaint.

22         131.    Paragraph 131 of Plaintiffs’ Amended Complaint cites a law and alleges legal

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  23                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 24 of 44



 1   conclusions that do not require a response. Defendants lack information or knowledge

 2   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 3   of this paragraph of Plaintiffs’ Amended Complaint.

 4         132.    Defendants deny the allegations of paragraph 132 of Plaintiffs’ Amended

 5   Complaint.

 6         133.    Defendants deny the allegations of paragraph 133 of Plaintiffs’ Amended

 7   Complaint.

 8         134.    Paragraph 134 of Plaintiffs’ Amended Complaint cites laws and alleges a legal

 9   conclusion that does not require a response. Defendants lack information or knowledge

10   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

11   of this paragraph of Plaintiffs’ Amended Complaint.

12         135.    Defendants are without sufficient information or knowledge sufficient to form a

13   belief as to the truth of the allegations of paragraph 135 of Plaintiffs’ Amended Complaint and

14   therefore deny the allegations of this paragraph of Plaintiffs’ Amended Complaint

15         136.    Defendants deny the allegations of paragraph 136 of Plaintiffs’ Amended

16   Complaint.

17         137.    Paragraph 137 of Plaintiffs’ Amended Complaint cites laws and alleges legal

18   conclusions that do not require a response. Defendants lack information or knowledge

19   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

20   of this paragraph of Plaintiffs’ Amended Complaint.

21         138.    Paragraph 138 of Plaintiffs’ Amended Complaint cites laws and alleges legal

22   conclusions that do not require a response. Defendants lack information or knowledge

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  24                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 25 of 44



 1   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 2   of this paragraph of Plaintiffs’ Amended Complaint.

 3         139.    Defendants deny the allegations of paragraph 139 of Plaintiffs’ Amended

 4   Complaint.

 5         140.    Paragraph 140 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 6   conclusions that do not require a response. Defendants lack information or knowledge

 7   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 8   of this paragraph of Plaintiffs’ Amended Complaint.

 9         141.    Defendants deny the allegations of paragraph 141 of Plaintiffs’ Amended

10   Complaint.

11         142.    Paragraph 142 of Plaintiffs’ Amended Complaint cites laws and alleges legal

12   conclusions that do not require a response. Defendants lack information or knowledge

13   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

14   of this paragraph of Plaintiffs’ Amended Complaint.

15         143.    Defendants deny the allegations of paragraph 143 of Plaintiffs’ Amended

16   Complaint.

17         144.    Paragraph 144 of Plaintiffs’ Amended Complaint cites laws and alleges legal

18   conclusions that do not require a response. Defendants lack information or knowledge

19   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

20   of this paragraph of Plaintiffs’ Amended Complaint.

21         145.    Defendants deny the allegations of paragraph 145 of Plaintiffs’ Amended

22   Complaint.

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  25                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 26 of 44



 1         146.    Paragraph 146 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 2   conclusions that do not require a response. Defendants lack information or knowledge

 3   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 4   of this paragraph of Plaintiffs’ Amended Complaint.

 5         147.    Paragraph 147 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 6   conclusions that do not require a response. Defendants lack information or knowledge

 7   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 8   of this paragraph of Plaintiffs’ Amended Complaint.

 9         148.    Paragraph 148 of Plaintiffs’ Amended Complaint cites a law and alleges a legal

10   conclusion that does not require a response. Defendants lack information or knowledge

11   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

12   of this paragraph of Plaintiffs’ Amended Complaint.

13         149.    Paragraph 149 of Plaintiffs’ Amended Complaint cites laws and alleges legal

14   conclusions that do not require a response. Defendants lack information or knowledge

15   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

16   of this paragraph of Plaintiffs’ Amended Complaint.

17         150.    Paragraph 150 of Plaintiffs’ Amended Complaint cites laws and alleges legal

18   conclusions that do not require a response. Defendants lack information or knowledge

19   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

20   of this paragraph of Plaintiffs’ Amended Complaint.

21         151.    In response to paragraph 151 of Plaintiffs’ Amended Complaint, Defendants

22   admit that mass shootings have occurred in Colorado. Defendants deny the allegations

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  26                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 27 of 44



 1   regarding the temporary modification and lack information or knowledge sufficient to form a

 2   belief as to the truth of the other allegations of this paragraph and therefore deny the remaining

 3   allegations of this paragraph of Plaintiffs’ Amended Complaint.

 4         152.    Paragraph 152 of Plaintiffs’ Amended Complaint discusses laws and alleges

 5   legal conclusions that do not require a response. Defendants lack information or knowledge

 6   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 7   of this paragraph of Plaintiffs’ Amended Complaint.

 8         153.    Paragraph 153 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 9   conclusions that do not require a response. Defendants lack information or knowledge

10   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

11   of this paragraph of Plaintiffs’ Amended Complaint.

12         154.    Paragraph 154 of Plaintiffs’ Amended Complaint cites laws and alleges legal

13   conclusions that do not require a response. Defendants lack information or knowledge

14   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

15   of this paragraph of Plaintiffs’ Amended Complaint.

16         155.    Paragraph 155 of Plaintiffs’ Amended Complaint cites laws and alleges legal

17   conclusions that do not require a response. Defendants lack information or knowledge

18   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

19   of this paragraph of Plaintiffs’ Amended Complaint.

20         156.    Defendants deny the allegations of paragraph 156 of Plaintiffs’ Amended

21   Complaint.

22         157.    Paragraph 157 of Plaintiffs’ Amended Complaint cites laws and alleges legal

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  27                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 28 of 44



 1   conclusions that do not require a response. Defendants lack information or knowledge

 2   sufficient to form a belief as to death rates and as to the truth of other allegations in this

 3   paragraph and therefore deny the allegations of this paragraph of Plaintiffs’ Amended

 4   Complaint.

 5         158.    Paragraph 158 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 6   conclusions that do not require a response. Defendants lack information or knowledge

 7   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 8   of this paragraph of Plaintiffs’ Amended Complaint.

 9         159.    Paragraph 159 of Plaintiffs’ Amended Complaint cites a law and alleges a legal

10   conclusion that does not require a response. Defendants lack information or knowledge

11   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

12   of this paragraph of Plaintiffs’ Amended Complaint.

13         160.    Paragraph 160 of Plaintiffs’ Amended Complaint cites a law and alleges a legal

14   conclusion that does not require a response. Defendants lack information or knowledge

15   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

16   of this paragraph of Plaintiffs’ Amended Complaint.

17         161.    Paragraph 161 of Plaintiffs’ Amended Complaint cites laws and alleges legal

18   conclusions that do not require a response. Defendants lack information or knowledge

19   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

20   of this paragraph of Plaintiffs’ Amended Complaint.

21         162.    Defendants deny the allegations of paragraph 162 of Plaintiffs’ Amended

22   Complaint.

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  28                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 29 of 44



 1         163.    Paragraph 163 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 2   conclusions that do not require a response. Defendants lack information or knowledge

 3   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 4   of this paragraph of Plaintiffs’ Amended Complaint.

 5         164.    Paragraph 164 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 6   conclusions that do not require a response. Defendants lack information or knowledge

 7   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 8   of this paragraph of Plaintiffs’ Amended Complaint.

 9         165.    Paragraph 165 of Plaintiffs’ Amended Complaint cites laws and alleges legal

10   conclusions that do not require a response. Defendants lack information or knowledge

11   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

12   of this paragraph of Plaintiffs’ Amended Complaint.

13         166.    Paragraph 166 of Plaintiffs’ Amended Complaint cites a law and alleges a legal

14   conclusion that does not require a response. Defendants lack information or knowledge

15   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

16   of this paragraph of Plaintiffs’ Amended Complaint.

17         167.    Paragraph 167 of Plaintiffs’ Amended Complaint cites a law and alleges a legal

18   conclusion that does not require a response. Defendants lack information or knowledge

19   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

20   of this paragraph of Plaintiffs’ Amended Complaint.

21         168.    Defendants deny the allegations of paragraph 168 of Plaintiffs’ Amended

22   Complaint.

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  29                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 30 of 44



 1         169.    Paragraph 169 of Plaintiffs’ Amended Complaint discusses laws and alleges

 2   legal conclusions that do not require a response. Defendants lack information or knowledge

 3   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 4   of this paragraph of Plaintiffs’ Amended Complaint.

 5         170.    Paragraph 170 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 6   conclusions that do not require a response. Defendants lack information or knowledge

 7   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 8   of this paragraph of Plaintiffs’ Amended Complaint.

 9         171.    Paragraph 171 of Plaintiffs’ Amended Complaint cites laws and alleges legal

10   conclusions that do not require a response. Defendants lack information or knowledge

11   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

12   of this paragraph of Plaintiffs’ Amended Complaint.

13         172.    Paragraph 172 of Plaintiffs’ Amended Complaint cites a law and alleges legal

14   conclusions that do not require a response. Defendants lack information or knowledge

15   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

16   of this paragraph of Plaintiffs’ Amended Complaint.

17         173.    Paragraph 173 of Plaintiffs’ Amended Complaint cites a law and alleges legal

18   conclusions that do not require a response. Defendants lack information or knowledge

19   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

20   of this paragraph of Plaintiffs’ Amended Complaint.

21         174.    Paragraph 174 of Plaintiffs’ Amended Complaint cites laws and alleges legal

22   conclusions that do not require a response. Defendants lack information or knowledge

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  30                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 31 of 44



 1   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 2   of this paragraph of Plaintiffs’ Amended Complaint.

 3         175.    Paragraph 175 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 4   conclusions that do not require a response. Defendants lack information or knowledge

 5   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 6   of this paragraph of Plaintiffs’ Amended Complaint.

 7         176.    Paragraph 176 of Plaintiffs’ Amended Complaint cites a law and alleges legal

 8   conclusions that do not require a response. Defendants lack information or knowledge

 9   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

10   of this paragraph of Plaintiffs’ Amended Complaint.

11         177.    Defendants deny the allegations of paragraph 177 of Plaintiffs’ Amended

12   Complaint.

13         178.    Paragraph 178 of Plaintiffs’ Amended Complaint alleges a legal conclusion that

14   does not require a response. Defendants lack information or knowledge sufficient to form a

15   belief as to the truth of this allegation and therefore deny the allegation of this paragraph of

16   Plaintiffs’ Amended Complaint.

17         179.    Paragraph 179 of Plaintiffs’ Amended Complaint cites laws and alleges legal

18   conclusions that do not require a response. Defendants lack information or knowledge

19   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

20   of this paragraph of Plaintiffs’ Amended Complaint.

21         180.    Paragraph 180 of Plaintiffs’ Amended Complaint cites a law and alleges legal

22   conclusions that do not require a response. Defendants lack information or knowledge

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  31                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 32 of 44



 1   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 2   of this paragraph of Plaintiffs’ Amended Complaint.

 3         181.    Paragraph 181 of Plaintiffs’ Amended Complaint cites a law and alleges legal

 4   conclusions that do not require a response. Defendants lack information or knowledge

 5   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 6   of this paragraph of Plaintiffs’ Amended Complaint.

 7         182.    Paragraph 182 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 8   conclusions that do not require a response. Defendants lack information or knowledge

 9   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

10   of this paragraph of Plaintiffs’ Amended Complaint.

11         183.    Paragraph 183 of Plaintiffs’ Amended Complaint cites laws and alleges legal

12   conclusions that do not require a response. Defendants lack information or knowledge

13   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

14   of this paragraph of Plaintiffs’ Amended Complaint.

15         184.    Paragraph 184 of Plaintiffs’ Amended Complaint cites laws and alleges legal

16   conclusions that do not require a response. Defendants lack information or knowledge

17   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

18   of this paragraph of Plaintiffs’ Amended Complaint.

19         185.    Defendants deny the allegations of paragraph 185 of Plaintiffs’ Amended

20   Complaint.

21         186.    Paragraph 186 of Plaintiffs’ Amended Complaint discusses laws and alleges

22   legal conclusions that do not require a response. Defendants lack information or knowledge

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  32                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 33 of 44



 1   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 2   of this paragraph of Plaintiffs’ Amended Complaint.

 3         187.    Paragraph 187 of Plaintiffs’ Amended Complaint cites a law and alleges legal

 4   conclusions that do not require a response. Defendants lack information or knowledge

 5   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 6   of this paragraph of Plaintiffs’ Amended Complaint.

 7         188.    Paragraph 188 of Plaintiffs’ Amended Complaint cites a law and alleges legal

 8   conclusions that do not require a response. Defendants lack information or knowledge

 9   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

10   of this paragraph of Plaintiffs’ Amended Complaint.

11         189.    Paragraph 189 of Plaintiffs’ Amended Complaint cites a law and alleges legal

12   conclusions that do not require a response. Defendants lack information or knowledge

13   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

14   of this paragraph of Plaintiffs’ Amended Complaint.

15         190.    Paragraph 190 of Plaintiffs’ Amended Complaint cites a law and alleges legal

16   conclusions that do not require a response. Defendants lack information or knowledge

17   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

18   of this paragraph of Plaintiffs’ Amended Complaint.

19         191.    Paragraph 191 of Plaintiffs’ Amended Complaint cites a law and alleges legal

20   conclusions that do not require a response. Defendants lack information or knowledge

21   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

22   of this paragraph of Plaintiffs’ Amended Complaint.

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  33                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 34 of 44



 1         192.    Paragraph 192 of Plaintiffs’ Amended Complaint cites a law and alleges legal

 2   conclusions that do not require a response. Defendants lack information or knowledge

 3   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 4   of this paragraph of Plaintiffs’ Amended Complaint.

 5         193.    Paragraph 193 of Plaintiffs’ Amended Complaint cites a law and alleges legal

 6   conclusions that do not require a response. Defendants lack information or knowledge

 7   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 8   of this paragraph of Plaintiffs’ Amended Complaint.

 9         194.    Paragraph 194 of Plaintiffs’ Amended Complaint cites a law and alleges legal

10   conclusions that do not require a response. Defendants lack information or knowledge

11   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

12   of this paragraph of Plaintiffs’ Amended Complaint.

13         195.    Defendants deny the allegations of paragraph 195 of Plaintiffs’ Amended

14   Complaint.

15         196.    Paragraph 196 of Plaintiffs’ Amended Complaint discusses laws and alleges

16   legal conclusions that do not require a response. Defendants lack information or knowledge

17   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

18   of this paragraph of Plaintiffs’ Amended Complaint.

19         197.    Paragraph 197 of Plaintiffs’ Amended Complaint cites a law and alleges legal

20   conclusions that do not require a response. Defendants lack information or knowledge

21   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

22   of this paragraph of Plaintiffs’ Amended Complaint.

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  34                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 35 of 44



 1         198.    Paragraph 198 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 2   conclusions that do not require a response. Defendants lack information or knowledge

 3   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 4   of this paragraph of Plaintiffs’ Amended Complaint.

 5         199.    Paragraph 199 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 6   conclusions that do not require a response. Defendants lack information or knowledge

 7   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 8   of this paragraph of Plaintiffs’ Amended Complaint.

 9         200.    Paragraph 200 of Plaintiffs’ Amended Complaint cites a law and alleges legal

10   conclusions that do not require a response. Defendants lack information or knowledge

11   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

12   of this paragraph of Plaintiffs’ Amended Complaint.

13         201.    Paragraph 201 of Plaintiffs’ Amended Complaint cites a law and alleges legal

14   conclusions that do not require a response. Defendants lack information or knowledge

15   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

16   of this paragraph of Plaintiffs’ Amended Complaint.

17         202.    Paragraph 202 of Plaintiffs’ Amended Complaint cites laws and alleges legal

18   conclusions that do not require a response. Defendants lack information or knowledge

19   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

20   of this paragraph of Plaintiffs’ Amended Complaint.

21         203.    Paragraph 203 of Plaintiffs’ Amended Complaint cites a law and alleges legal

22   conclusions that do not require a response. Defendants lack information or knowledge

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  35                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 36 of 44



 1   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 2   of this paragraph of Plaintiffs’ Amended Complaint.

 3         204.    Defendants deny the allegations of paragraph 204 of Plaintiffs’ Amended

 4   Complaint.

 5         205.    Paragraph 205 of Plaintiffs’ Amended Complaint alleges a legal conclusion that

 6   does not require a response. Defendants lack information or knowledge sufficient to form a

 7   belief as to the truth of this allegation and therefore deny the allegation of this paragraph of

 8   Plaintiffs’ Amended Complaint.

 9         206.    Paragraph 206 of Plaintiffs’ Amended Complaint cites laws and alleges legal

10   conclusions that do not require a response. Defendants lack information or knowledge

11   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

12   of this paragraph of Plaintiffs’ Amended Complaint.

13         207.    Paragraph 207 of Plaintiffs’ Amended Complaint cites a law and alleges legal

14   conclusions that do not require a response. Defendants lack information or knowledge

15   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

16   of this paragraph of Plaintiffs’ Amended Complaint.

17         208.    Paragraph 208 of Plaintiffs’ Amended Complaint cites a law and alleges legal

18   conclusions that do not require a response. Defendants lack information or knowledge

19   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

20   of this paragraph of Plaintiffs’ Amended Complaint.

21         209.    Paragraph 209 of Plaintiffs’ Amended Complaint cites a law and alleges legal

22   conclusions that do not require a response. Defendants lack information or knowledge

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  36                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 37 of 44



 1   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 2   of this paragraph of Plaintiffs’ Amended Complaint.

 3         210.    Paragraph 210 of Plaintiffs’ Amended Complaint alleges legal conclusions that

 4   do not require a response.       Defendants deny the allegations regarding the temporary

 5   modification and lack information and knowledge sufficient to form a belief as to the

 6   remaining allegations of this paragraph and therefore deny the remaining allegations of this

 7   paragraph of Plaintiffs’ Amended Complaint.

 8         211.    Paragraph 211 of Plaintiffs’ Amended Complaint alleges legal conclusions that

 9   do not require a response.       Defendants deny the allegations regarding the temporary

10   modification and lack information and knowledge sufficient to form a belief as to the

11   remaining allegations of this paragraph and therefore deny the remaining allegations of this

12   paragraph of Plaintiffs’ Amended Complaint.

13         212.    Paragraph 212 of Plaintiffs’ Amended Complaint cites laws and alleges legal

14   conclusions that do not require a response. Defendants lack information or knowledge

15   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

16   of this paragraph of Plaintiffs’ Amended Complaint.

17         213.    Paragraph 213 of Plaintiffs’ Amended Complaint cites a law and alleges legal

18   conclusions that do not require a response. Defendants lack information or knowledge

19   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

20   of this paragraph of Plaintiffs’ Amended Complaint.

21         214.    Paragraph 214 of Plaintiffs’ Amended Complaint cites laws and alleges legal

22   conclusions that do not require a response. Defendants lack information or knowledge

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  37                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 38 of 44



 1   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

 2   of this paragraph of Plaintiffs’ Amended Complaint.

 3         215.    Paragraph 215 of Plaintiffs’ Amended Complaint cites laws and alleges legal

 4   conclusions that do not require a response. Defendants deny that the CAD files are contrary

 5   to any public policy and lack information or knowledge sufficient to form a belief as to the

 6   truth of the remaining allegations and therefore deny the allegations of this paragraph of

 7   Plaintiffs’ Amended Complaint.

 8         216.    Paragraph 216 of Plaintiffs’ Amended Complaint cites a law and alleges legal

 9   conclusions that do not require a response. Defendants lack information or knowledge

10   sufficient to form a belief as to the truth of these allegations and therefore deny the allegations

11   of this paragraph of Plaintiffs’ Amended Complaint.

12         217.    Defendants deny the allegations of paragraph 217 of Plaintiffs’ Amended

13   Complaint.

14         218.    In response to paragraph 218 of Plaintiffs’ Amended Complaint, Defendants

15   repeat the foregoing responses to the above allegations as though fully set forth herein.

16         219.    Paragraph 219 of Plaintiffs’ Amended Complaint alleges a legal conclusion that

17   does not require a response. To the extent a response is required, Defendants deny the

18   allegations of this paragraph of Plaintiffs’ Amended Complaint.

19         220.    Defendants deny the allegations of paragraph 220 of Plaintiffs’ Amended

20   Complaint.

21         221.    Defendants deny the allegations of paragraph 221 of Plaintiffs’ Amended

22   Complaint.

     ANSWER OF DEFENDANTS DEFENSE                                          FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                      4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                  38                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 39 of 44



 1        222.     In response to paragraph 222 of Plaintiffs’ Amended Complaint, Defendants

 2   deny that any Congressional notification or Secretary of Defense concurrence was required

 3   and therefore deny the allegations of this paragraph of Plaintiffs’ Amended Complaint.

 4        223.     Defendants lack information or knowledge sufficient to form a belief as to the

 5   truth of the allegations at paragraph 223 of Plaintiffs’ Amended Complaint and therefore deny

 6   the allegations of this paragraph of Plaintiffs’ Amended Complaint.

 7        224.     Defendants deny the allegations of paragraph 224 of Plaintiffs’ Amended

 8   Complaint.

 9        225.     Paragraph 225 of Plaintiffs’ Amended Complaint alleges legal conclusions that

10   do not require a response. To the extent a response is required, Defendants deny the allegations

11   of this paragraph of Plaintiffs’ Amended Complaint.

12        226.     Defendants deny the allegations of paragraph 226 of Plaintiffs’ Amended

13   Complaint.

14        227.     Defendants deny the allegations of paragraph 227 of Plaintiffs’ Amended

15   Complaint.

16        228.     Defendants deny the allegations of paragraph 228 of Plaintiffs’ Amended

17   Complaint.

18        229.     In response to paragraph 229 of Plaintiffs’ Amended Complaint, Defendants

19   repeat the foregoing responses to the above allegations as though fully set forth herein.

20        230.     Paragraph 230 of Plaintiffs’ Amended Complaint alleges a legal conclusion that

21   does not require a response. To the extent a response is required, Defendants deny the

22   allegations of this paragraph of Plaintiffs’ Amended Complaint.

     ANSWER OF DEFENDANTS DEFENSE                                        FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                    4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                39                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 40 of 44



 1        231.     In response to paragraph 231 of Plaintiffs’ Amended Complaint, Defendants

 2   deny that any Congressional notification or Secretary of Defense concurrence was required

 3   and therefore deny the allegations of this paragraph of Plaintiffs’ Amended Complaint.

 4        232.     Defendants deny the allegations of paragraph 232 of Plaintiffs’ Amended

 5   Complaint.

 6        233.     Defendants deny the allegations of paragraph 233 of Plaintiffs’ Amended

 7   Complaint.

 8        234.     Defendants deny the allegations of paragraph 234 of Plaintiffs’ Amended

 9   Complaint.

10        235.     In response to paragraph 235 of Plaintiffs’ Amended Complaint, Defendants

11   repeat the foregoing responses to the above allegations as though fully set forth herein.

12        236.     Paragraph 236 of Plaintiffs’ Amended Complaint alleges a legal conclusion that

13   does not require a response. To the extent a response is required, Defendants deny the

14   allegations of this paragraph of Plaintiffs’ Amended Complaint.

15        237.     Paragraph 237 of Plaintiffs’ Amended Complaint alleges legal conclusions that

16   do not require a response. To the extent a response is required, Defendants deny the allegations

17   of this paragraph of Plaintiffs’ Amended Complaint.

18        238.     Defendants deny the allegations of paragraph 238 of Plaintiffs’ Amended

19   Complaint.

20        239.     Defendants deny the allegations of paragraph 239 of Plaintiffs’ Amended

21   Complaint.

22        240.     Defendants deny the allegations of paragraph 240 of Plaintiffs’ Amended

     ANSWER OF DEFENDANTS DEFENSE                                        FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                    4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                40                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 41 of 44



 1   Complaint.

 2        241.     In response to paragraph 241 of Plaintiffs’ Amended Complaint, Defendants

 3   repeat the foregoing responses to the above allegations as though fully set forth herein.

 4        242.     Paragraph 242 of Plaintiffs’ Amended Complaint alleges legal conclusions that

 5   do not require a response. To the extent a response is required, Defendants deny the allegations

 6   of this paragraph of Plaintiffs’ Amended Complaint.

 7        243.     Paragraph 243 of Plaintiffs’ Amended Complaint alleges legal conclusions that

 8   do not require a response. To the extent a response is required, Defendants deny the allegations

 9   of this paragraph of Plaintiffs’ Amended Complaint.

10        244.     Defendants deny the allegations of paragraph 244 of Plaintiffs’ Amended

11   Complaint.

12        245.     Defendants deny the allegations of paragraph 245 of Plaintiffs’ Amended

13   Complaint.

14        246.     Defendants deny the allegations of paragraph 246 of Plaintiffs’ Amended

15   Complaint.

16        247.     Defendants deny the allegations of paragraph 247 of Plaintiffs’ Amended

17   Complaint.

18          Defendants deny each and every material allegation not heretofore controverted and

19   demand strict proof thereof.

20                              DEFENSES & AFFIRMATIVE DEFENSES

21          Defendants allege and assert the following separate, alternative, and affirmative

22   defenses in response to the allegations in Plaintiffs’ Amended Complaint.

     ANSWER OF DEFENDANTS DEFENSE                                        FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                    4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                41                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
         Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 42 of 44



 1          1. The Court lacks subject-matter jurisdiction.

 2          2. The Court lacks personal jurisdiction over Defense Distributed.

 3          3. Venue is not proper in this Court.

 4          4. Plaintiffs fail to state a claim upon which relief can be granted.

 5          5. Plaintiffs will be unable to meet their burden of proof.

 6          Defendants may have additional affirmative defenses, which are not yet known, but

 7   which may become known through discovery.

 8                           DEFENDANTS’ REQUEST FOR RELIEF

 9          WHEREFORE, having fully answered Plaintiffs’ Amended Complaint, Defendants

10   respectfully pray that the Court deny Plaintiffs any relief, enter judgment in favor of

11   Defendants and against Plaintiffs, and dismiss this case in its entirety with prejudice.

12
            DATED this 20th day of August, 2018.
13
            BECK REDDEN LLP                            FARHANG & MEDCOFF
14

15          /s/Charles Flores                          /s/Matthew Goldstein
            Charles Flores                             Matthew Goldstein
16          cflores@beckredden.com                     Farhang & Medcoff
            /s/Daniel Hammond                          4801 E. Broadway Blvd., Suite 311
17          Daniel Hammond                             Tucson, AZ 85711
            dhammond@beckredden.com                    Phone: (202) 550-0040
18          Beck Redden LLP                            mgoldstein@fmlaw.law
            1221 McKinney Street, Suite 4500           *Admitted Pro Hac Vice
19          Phone: (713) 951-3700
            *Admitted Pro Hac Vice
20
            Attorneys for Defendants                   IMMIX LAW GROUP PC
            Defense Distributed                        /s/Joel B. Ard
21                                                     Joel B. Ard, WSBA # 40104
                                                       Immix Law Group PC
22                                                     701 5th Ave Suite 4710

     ANSWER OF DEFENDANTS DEFENSE                                        FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                    4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON                 42                       Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
        Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 43 of 44



 1                                              Seattle, WA 98104
                                                Phone: (206) 492-7531
 2                                              Fax: (503) 802-5351
                                                joel.ard@immixlaw.com
 3
                                                Attorneys for Defendants
 4                                              Defense Distributed, Second Amendment
                                                Foundation, Inc., and Conn Williamson
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24
     ANSWER OF DEFENDANTS DEFENSE                              FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                          4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON       43                       Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
        Case 2:18-cv-01115-RSL Document 81 Filed 08/20/18 Page 44 of 44



 1                                  CERTIFICATE OF SERVICE
 2         I certify that on August 20, 2018, I served the foregoing by filing it with the Court’s
      CM/ECF system, which automatically notifies all counsel of record.
 3

 4          I CERTIFY UNDER PENALTY OF PERJURY under the laws of the United States of
      America that the foregoing is true and correct.
 5
             DATED this August 20, 2018.
 6                                              FARHANG & MEDCOFF
 7                                              By /s/Matthew Goldstein
                                                   Matthew Goldstein
 8                                                 Farhang & Medcoff
                                                   4801 E. Broadway Blvd., Suite 311
 9                                                 Tucson, AZ 85711
                                                   Phone: (202) 550-0040
10                                                 mgoldstein@fmlaw.law
                                                   *Admitted Pro Hac Vice
11
                                                    Attorneys for Defendants
12                                                  Defense Distributed, Second Amendment
                                                    Foundation, Inc., and Conn Williamson
13

14

15

16

17

18

19

20

21

22

23

     ANSWER OF DEFENDANTS DEFENSE                                       FARHANG & MEDCOFF
     DISTRIBUTED, SECOND AMENDMENT                                   4801 E. Broadway Blvd., Suite 311
     FOUNDATION, AND CONN WILLIAMSON               44                        Tucson, AZ 85711
     No. 2:18-cv-01115-RSL
